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 8                          UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
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11   Ms. L.; et al.,                                     Case No.: 18cv0428 DMS (MDD)
12                         Petitioners-Plaintiffs,
                                                         ORDER FOLLOWING STATUS
13   v.                                                  CONFERENCE
14   U.S Immigration and Customs
     Enforcement (“ICE”); et al.,
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                       Respondents-Defendants.
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18         A status conference was held on April 22, 2022. After consulting with counsel and
19   being advised of the status of the case, IT IS HEREBY ORDERED:
20   1.    A further status conference shall be held on June 3, 2022, at 11:30 a.m. The dial-
21   in number for any counsel who wish to listen in only and members of the news media is as
22   follows.
23         a.     Dial the toll free number: 877-411-9748;
24         b.     Enter the Access Code: 6246317 (Participants will be put on hold until the
25                Court activates the conference call);
26         c.     Enter the Participant Security Code 06030428 and Press # (The security code
27                will be confirmed);
28         d.     Once the Security Code is confirmed, participants will be prompted to Press

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                                                                             18cv0428 DMS (MDD)
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 1                  1 to join the conference or Press 2 to re-enter the Security Code.
 2   Members of the general public may attend in person. All persons dialing in to the
 3   conference are reminded that Civil Local Rule 83.7(c) prohibits any recording of court
 4   proceedings.
 5   2.    The next Joint Status Report shall be filed on or before 3:00 p.m. on June 1, 2022.
 6   Dated: April 25, 2022
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